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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA
                                                    Case No. 1:11-CR-143-BLW
                Plaintiff,
                                                    MEMORANDUM DECISION
       v.                                           AND ORDER

DAVID JOSEPH VON BARGEN,

                Defendant.




                                    INTRODUCTION

       The Court has before it a motion to suppress filed by defendant Von Bargen. The

Court held an evidentiary hearing on May 23, 2012, and took the motion under

advisement. For the reasons expressed below, the Court will deny the motion.

                              FACTUAL BACKGROUND

       On May 27, 2011, just past midnight, two explosions only minutes apart occurred

in Payette, Idaho. The first destroyed a pickup truck and the second, about 10 blocks

from the first, destroyed a storage shed full of wood. Both explosions resulted in fires.

       About 17 minutes after the second explosion, Payette County Deputy Sheriff

Ryan Tatum heard a dispatch message describing a “burglary in progress” at the World’s

Largest Pawn Shop in Fruitland, Idaho, and the dispatcher related that the alarm company

had an audio feed from inside the pawnshop and could hear voices and things breaking.

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       Deputy Tatum immediately left Payette and started driving down Highway 95

toward Fruitland, about 5 miles away. Deputy Tatum suspected that the fires had been a

diversion for the burglary.

       Highway 95 runs right through Fruitland. The Fruitland pawnshop faces the

Highway and sits just north of where 12th street intersects the Highway. When Deputy

Tatum was approaching that corner, and was about 300 yards away, he heard from

dispatch that the alarm company had advised that the audio feed from the pawnshop had

gone silent. At that same time, he saw a light blue Ford pickup truck pulling onto

Highway 95 from the intersection where the pawnshop was located. Only a few minutes

had elapsed since the dispatch call about the burglary in progress at the pawnshop.

       There were no residences in this area, and the businesses were all closed at his

hour, about 12:30 a.m. Deputy Tatum was suspicious of the pickup, so he followed it

southbound on Highway 95. His suspicions grew when the pickup drove no faster than

25 mph, despite Highway 95's posted 45 mph limit.

       Despite driving close to the rear of the pickup, he could not read the license plate,

and concluded that it failed to meet the standard required by Idaho law. He also observed

that the pickup had no mud-flaps, a violation of Idaho law in his view because the vehicle

had enough ground clearance to trigger the requirement that they be installed.

       As he followed the pickup, it turned west off Highway 95 onto NW 3rd Street.

Deputy Tatum followed closely, and at 12:31 a.m. activated his patrol car’s emergency

lights. Instead of pulling over, the driver of the pickup truck kept driving one more block

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before stopping.

       While approaching the pickup, Deputy Tatum shined his flashlight into the bed of

the pickup and observed five rifles that appeared to have been thrown haphazardly across

a bag in the back of the pickup. He did not need to move anything to see the rifles. He

testified that he also saw that the rifles had tags hanging from the trigger guards. While

Deputy Tatum did not put this observation about the tags in his initial report, he testified

at trial that he recalled seeing the tags on the rifles when he first approached the cab of the

pickup. The Court finds that testimony credible.

       The driver of the pickup was identified as the defendant Von Bargen. Deputy

Tatum directed the three occupants in the cab of the pickup to place their hands on the

dash. After back-up Officers arrived, they looked inside a blue duffle bag found in the

bed of the pickup. It contained several handguns. The Officers then looked inside the

cab of the pickup and found two black ski masks on the floor, and two pair of gloves.

They also found two “walkie-talkie type radios” on the seat. There were also two Idaho

license plates under the driver’s seat bearing the number 1P69212, and they were able to

determine that the plates were registered to a light blue Ford F-150 pickup truck assigned

to the driver, David Von Bargen. The plates hidden underneath the seat were the lawful

plates for the truck they had just stopped. Under some plastic tarps in the bed of the

pickup, Officers saw what appeared to be clear glass bottles containing a brown liquid

with fabric stuffed down into the bottle with several inches of it hanging out. The

Officers testified that the bottles smelled of diesel fuel and something like paint thinner or

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other flammable chemicals.

       Based on the items found in the vehicle search, the Officers obtained a warrant to

search Von Bargen’s house, and found component materials similar to those used to

construct the Molotov Cocktails found in the back of Von Bargen’s pickup truck. The

three individuals in Von Bargen’s truck were interviewed and gave incriminating

statements. Von Bargen now seeks to suppress all of this evidence.

                                        ANALYSIS

       An officer may conduct an investigatory stop of a vehicle based upon “reasonable

suspicion.” Terry v. Ohio, 392 U.S. 1, 20-21 (1968). Reasonable suspicion exists when

an officer can “point to specific and articulable facts, which, taken together with rational

inferences from those facts, reasonably warrant the intrusion.” Id. “Law enforcement

agents may briefly stop a moving automobile to investigate a reasonable suspicion that its

occupants are involved in criminal activity.” United States v. Hensley, 469 U.S. 221, 226

(1985). In order to make an investigatory stop of a vehicle, the officer must have

reasonable suspicion that criminal activity is afoot. United States v. Drake, 543 F.3d

1080, 1088 (9th Cir. 2008).

       The threshold issue here is whether Deputy Tatum had a reasonable suspicion that

criminal activity was afoot when he stopped Von Bargen’s pickup. The Court finds that

he did. Just 3 or 4 minutes after hearing dispatch’s notice of a burglary in progress at the

Fruitland pawnshop, and just moments after receiving an update that the noise in the

pawnshop had ceased, Deputy Tatum saw the pickup leaving the very corner where the

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pawnshop was located. Given that there were no residences in the area, and that the

business were all closed as it was after midnight, these circumstances would give any

officer a “reasonable suspicion” that the pickup was connected with the pawnshop

burglary.

       What happened next added to this reasonable suspicion: The pickup traveled

down Highway 45 at just 25 mph despite the Highway’s posted limit of 45 mph. At the

same time, Deputy Tatum had the right to pull the pickup over for the mud-flap and

license plate violations.

       After Deputy Tatum pulled the pickup over, exited his vehicle and approached the

pickup from behind, he saw in the pickup’s bed – in plain view – 5 rifles with tags

attached to the triggers, which would lead a reasonable officer to suspect that the rifles

were stolen from the pawnshop. He could see the tags without having to conduct some

further search, and thus his plain view of the rifles during this stop can be used to support

their seizure. See Minnesota v. Dickerson, 508 U.S. 366, 374-75 (1993) (holding that

officers may seize objects in plain view without a warrant if they have a lawful view and

right of access to the object, and “its incriminating character is immediately apparent”).

       At this point, Deputy Tatum’s reasonable suspicion ripened into probable cause.

An officer who has stopped an automobile legitimately and who has probable cause to

believe that contraband is concealed somewhere within it may then conduct a warrantless

search of the vehicle. See United States v. Ross, 456 U.S. 798 (1982). That officer may

search the entire vehicle, including the trunk and all containers that might conceal the

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object of the search. See Wyoming v. Houghton, 526 U.S. 295, 301 (1999) (holding that

probable cause justifies the warrantless search of every part of a lawfully stopped vehicle

and its contents, including closed containers). Thus, the Officers were entitled to open

the duffle bag and search the other contents of the pickup truck that led to the discovery

of the incriminating evidence sought to be suppressed.

       Under these circumstances, the Court finds that the motion to suppress should be

denied.

                                         ORDER

       In accordance with the Memorandum Decision set forth above,

       NOW THEREFORE IT IS HEREBY ORDERED, that the motion to suppress

(docket no. 40) is DENIED.

                                  DATED: May 25, 2012




                                  Honorable B. Lynn Winmill
                                  Chief U. S. District Judge




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